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      AFFIDAVIT OF SPECIAL AGENT LORI ROBINSON IN SUPPORT OF
    COMPLAINT AND APPLICATION FOR SEARCH AND SEIZURE WARRANTS

  “We are already ‘money mules’ complicit in their offenses. It just opens us up to charges.”
                    – Craig CLAYTON, March 24, 2020 e-mail to CC-2.

                “Do we have any dirt on [Victim] we use to distract the police?”
                -- Craig CLAYTON, July 31, 2021 WhatsApp message to CC-3.

                        “Let’s move to Signal. Whatsapp can be tapped.”
               -- Craig CLAYTON, August 30, 2021 WhatsApp message to CC-3.

                                                ***

       I, Lori Robinson, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Department of Homeland Security (“DHS”),

Homeland Security Investigations (“HSI”) assigned to the Boston, Massachusetts Field Office. I

have been employed as a Special Agent with HSI since 2014. I have investigated and assisted

other agents in investigating numerous cases involving a variety of criminal violations including

money laundering, fraud, identity theft, narcotics, and smuggling. I have received on-the-job

training as well as participated in DHS-sponsored training courses on these types of investigations.

My investigations and training have included the use of surveillance techniques and the execution

of search, seizure, and arrest warrants.

       2.      The HSI New England El Dorado Financial Task Force, the Internal Revenue

Service – Criminal Investigation, the United States Postal Inspection Service, and I are currently

investigating CRAIG CLAYTON (“CLAYTON”) for money laundering and conspiracy to

commit money laundering, in violation of Title 18, United States Code, Sections 1956 and 1957;

obstruction of justice, tampering with, and retaliating against a witness and victim, and conspiracy

to commit the same, in violation of Title 18, United States Code, Sections 1512, 1513, and 371;

making false statements to a federal agent, in violation of Title 18, United States Code, Section
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1001; mail fraud, wire fraud, bank fraud, and conspiracy to commit the same, in violation of Title

18, United States Code, Sections 1341, 1343, 1344, and 1349; and operating an unlicensed money

transmitting business, in violation of Title 18, United States Code, Section 1960 (collectively, the

“Target Offenses”).

       3.      In summary, as set forth in detail below, there is probable cause to believe that from

in or about January 2019 to the present, CLAYTON agreed with known and unknown persons to

use his business, Rochart Consulting, to launder the proceeds of internet fraud schemes, principally

using bank accounts that CLAYTON opened and held in the names of shell companies on behalf

of Rochart’s clients. In total, CLAYTON laundered tens of millions of dollars through those shell

company bank accounts. In recorded phone calls with an undercover agent, CLAYTON stated,

among other things, that his clients include “fugitives.” During a later interview with federal

agents, CLAYTON attempted to obstruct a federal investigation by making false statements.

       4.      I submit this affidavit in support of a criminal complaint charging CLAYTON with

conspiracy to commit money laundering, in violation of Title 18, United States Code, Section

1956(h) and 1956(a)(1)(B)(i); and obstruction of justice, in violation of Title 18, United States

Code, Section 1512(c)(2).

       5.      I also submit this affidavit in support of an application for a warrant to search the

residence of CLAYTON located at 52 Parkside Drive, Cranston, Rhode Island 02910 (“the Clayton

Residence” or “the Subject Premises”), which is described in more detail in Attachment A to the

warrant to search the Clayton Residence. For the reasons stated herein, there is probable cause to

believe that evidence, fruits, and instrumentalities of the Target Offenses, as described in more

detail in Attachment B to the proposed warrant, will be found in the Clayton Residence, including

on cellular phones and computers belonging to CLAYTON and CC-1.




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       6.       I also submit this affidavit in support of applications for seizure warrants for the

following property:

                a.     Any and all funds held by Navigant Credit Union (“Navigant”) in, or on

                       behalf of, bank account number 752359165 in the name of Providence

                       Sanitizer Inc. (“Target Account 1”);

                b.     Any and all funds held by Navigant in, or on behalf of, bank account number

                       752364961 in the name of Sustainable Agriculture Technology Inc.

                       (“Target Account 2”);

                c.     Any and all funds held by Navigant in, or on behalf of, bank account number

                       750698962 in the name of Rochart Inc. (“Target Account 3”);

                d.     Any and all funds held by Navigant in, or on behalf of, bank account number

                       752025711 in the name of Rochart Inc. (“Target Account 4”); and

                e.     A 2016 Mercedes GLC 300, VIN #WDC0G4KB9GF085486 (the “Target

                       Vehicle”), located at the Subject Premises, and collectively with Target

                       Accounts 1 through 4, the “Target Assets”.

       7.       The facts in this affidavit come from my participation in this investigation,

including, among other things: listening to consensually recorded telephone calls between

CLAYTON and an undercover agent; my and other agents’ review of records, including

documents, e-mails, and text and instant messages seized in connection with the execution of

Court-authorized search warrants; 1 interviews that I and other law enforcement agents have

conducted; my training and experience; and information obtained from other agents and witnesses.



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           I previously submitted an affidavit in support of an e-mail search warrant for
craig.clayton@rochartgroup.com. See 21-MJ-2445-MBB (D. Mass.). I previously submitted an
affidavit in support of a search warrant for the Subject Premises. See 21-SW-585-PAS (D.R.I.).


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       8.        In submitting this affidavit, I have not included every fact known to me about this

investigation. Rather, I have included only those facts that I believe are sufficient to establish

probable cause for (1) the criminal complaint charging CLAYTON with conspiracy to commit

money laundering, in violation of Title 18, United States Code, Section 1956(h) and

1956(a)(1)(B)(i), and obstruction of justice, in violation of Title 18, United States Code, Section

1512(c)(2); (2) the search warrant for the Subject Premises; and (3) the seizure warrants for the

Target Assets.

 PROBABLE CAUSE TO BELIEVE THAT A FEDERAL CRIME WAS COMMITTED

       A.        Relevant Individuals, Entities, and Background

       9.        CLAYTON lives in Rhode Island at the Subject Premises. According to his

website, CLAYTON formerly worked for a large accounting firm as an accountant. The below

picture comes from a WhatsApp message that CLAYTON sent to an undercover agent. I have

personally met CLAYTON, and the picture fairly and accurately represents his appearance.




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       10.    According to public records and documents seized pursuant to search warrants, in

or about 2017, CLAYTON founded the company Rochart, Inc., d/b/a Rochart Consulting

(“Rochart”). According to those records, CLAYTON is the owner and operator of Rochart, which

purported to be a financial consulting and “virtual CFO” business. According to its website,

Rochart provided several services, including among other things, “US banking solutions” for

foreign nationals. At all times relevant to this Affidavit, CLAYTON operated Rochart from the

Subject Premises and, based on records seized during the execution of a search warrant, stored

business-related files and computer equipment there.

       11.    CC-1 is CLAYTON’s spouse and lives at the Subject Premises. According to

records seized from the execution of search warrants, including CLAYTON’s e-mails, and as set

forth in further detail below, CC-1 assists CLAYTON with Rochart’s business, executes bank

account deposits and withdrawals for Rochart clients, and has a Rochart e-mail address from which

she communicates with Rochart clients.

       12.    Based on public records and documents seized pursuant to search warrants, CC-2

operates a company (“Company-1”) that markets itself as providing solutions for global

entrepreneurs to do business remotely in the United States. CC-2 and Company-1 act as a foreign

client recruiter and marketing director for Rochart and CLAYTON. Based on, among other things,

bank account transfers from CLAYTON to CC-2, I believe that CC-2 resides in Ukraine.

       13.    CC-3 is a client of CLAYTON and Rochart. In communications seized pursuant

to search warrants, CC-3 told CLAYTON that he lives in Dubai.

       14.    In general, the Bank Secrecy Act, 31 U.S.C. § 5311 et seq., as amended in 2001 by

the USA PATRIOT Act (collectively, “BSA”) and regulations promulgated by the Financial

Crimes Enforcement Network (“FinCEN”), require that banks in the United States implement and




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administer anti-money laundering (“AML”) and know-your-customer (“KYC”) programs.

Among other things, banks are required to take steps to learn about their customers, particularly

foreign customers, to monitor account activity, and to collect and verify information regarding

customers opening bank accounts on behalf of businesses, including information regarding the true

beneficial owners of business bank accounts.

       15.     Based on my training, experience, and the investigation in this case, I am aware

that foreign nationals seeking to launder criminal proceeds through the United States banking

system often attempt to conceal their identities by paying a “straw owner” to create a shell or front

company (a company having no legitimate business purpose) in the United States, and then

instructing that straw owner to open bank accounts through which to launder and transfer abroad

the criminal proceeds on behalf of the true beneficial owners of the funds.

       16.     Based on my training, experience, and the investigation in this case, I am familiar

with different types of fraud schemes committed via the internet. One such online fraud scheme

known as a “romance scam” generally involves perpetrators creating fictitious profiles on online

dating or social media platforms, gaining the trust of potential victims, and then directing those

victims to transfer money under false pretenses.

       17.     Another type of online scam is generally referred to as “elder fraud” because these

types of schemes target the elderly. Although elder fraud can take a variety of forms, it generally

involves a perpetrator contacting an elderly victim, gaining the trust of the victim, and using high-

pressure tactics to convince the victim to transfer money under false pretenses.

       18.     Based on my training and experience, I know that online fraud schemes, including

romance scams and elder fraud, are often committed by perpetrators outside of the United States.

These schemes, however, frequently involve the use of the United States banking system and of




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conspirators in the United States to launder and/or access the fraud proceeds. For example,

romance scams commonly involve conspirators opening bank accounts in the United States

because, among other reasons, victims cannot transfer—or are more suspicious of transferring—

money to international bank accounts. Further, it is difficult for international conspirators to open

bank accounts in the United States under the BSA. And based on my training and experience, I

know that persons who launder fraud proceeds often try to conceal the nature of the fraudulent

schemes and the disposition of the proceeds by incorporating shell companies and opening the

bank accounts in the names of the corporations.

       B.      The Money Laundering Scheme

                          Overview of the Money Laundering Scheme
                       and CLAYTON’s Obstruction and False Statements

       19.     Starting no later than in or about January 2019, CLAYTON, CC-2, and Rochart

clients perpetrated a concealment money laundering scheme using dozens of bank accounts that

CLAYTON opened in Massachusetts and Rhode Island. CLAYTON opened those accounts in the

names of numerous shell companies that did not have legitimate offices in the United States,

employees, business transactions, or revenue. For nearly all of those accounts, CLAYTON listed

the company’s address as either the Subject Premises or an apartment in Slatersville, Rhode Island

where he previously lived. For nearly all the accounts, CLAYTON and CC-1 are the only

signatories—that is, the pertinent bank account records do not list any other beneficial owners or

controllers, including foreign persons.

       20.     Bank records show that when CLAYTON opened a bank account for a shell

company, he identified himself as the company’s “manager,” “president,” or other leader. Many

of the companies were incorporated by or at the direction of CLAYTON in Delaware, Wyoming,

or Rhode Island only shortly before he opened the bank accounts.



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       21.     As several examples detailed below demonstrate, CLAYTON generally conducted

the money laundering scheme, in exchange for fees paid to Rochart by clients, as follows. First,

CLAYTON incorporated a shell company in the United States on behalf of a foreign client of

Rochart. Then, CLAYTON opened one or more business bank accounts for the company, typically

at a bank in Rhode Island or Massachusetts. In opening the accounts, CLAYTON generally did

not disclose to the bank that he was opening the account on behalf of a foreign individual or shell

company. CLAYTON then created, or directed his foreign client to create, an online banking

profile for the purposes of controlling the account and sending wire transfers from the United

States bank account to foreign bank accounts controlled by the client.

       22.     Once CLAYTON formed the shell company and opened the bank account,

Rochart’s foreign clients then directed co-conspirators and victims of fraudulent schemes—

including romance scams and elder fraud—in the United States to send money to the bank accounts

opened by CLAYTON, via wire transfers, as well as via money orders, checks, and cash that were

mailed to the Subject Premises. CLAYTON and CC-1 laundered those money orders, checks, and

cash, which were often sent to CLAYTON in structured amounts, by depositing them into the bank

accounts, also sometimes in multiple transactions. Based on my training and experience, and as

CLAYTON discussed in encrypted communications with CC-3 that are discussed below, I know

that individuals laundering criminal proceeds often attempt to evade law enforcement and bank-

regulator scrutiny by dividing large financial transactions—including deposits and withdrawals—

into a series of smaller transactions. These incoming wire transfers and deposits did not have any

legitimate business purpose connected to the shell company. Rochart’s clients and CLAYTON

then used the online banking credentials to rapidly authorize and send wire transfers abroad,




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including to bank accounts in China, Switzerland, Austria, Hong Kong, Thailand, Singapore, India,

Ukraine, Malaysia, Poland, and Turkey.

       23.     Thereafter, the U.S. bank accounts were generally either liquidated by

CLAYTON’s co-conspirators, closed by CLAYTON with minimal balances, or frozen by the

banks pending investigations by the banks of fraud and money laundering. When the accounts

were closed or frozen at one bank, CLAYTON often opened an account at a different bank for the

same Rochart client in the name of the same shell company, or he created a new shell company

for the same Rochart client, and repeated the process.

       24.     CLAYTON admitted to CC-2 in an e-mail on or about March 24, 2020 that he knew

that his activity was illegal, stating that their use of bank accounts and execution of monetary

transfers made them “complicit in their [Rochart’s clients’] offenses” and “opens us up to charges.”

       25.     Bank records reviewed by investigators in this case show that from January 2019

to present, CLAYTON opened approximately 80 bank accounts for more than 65 different

companies that received approximately $48 million.

       26.     For example, and as further detailed below, for one of Rochart’s clients, CC-3,

CLAYTON created at least five different shell companies, and he opened at least 14 bank accounts

at seven different banks (including in Massachusetts). The accounts that CLAYTON opened for

CC-3 received and laundered more than $35 million, including proceeds of fraud. When banks

and members of law enforcement began to investigate CLAYTON, Rochart, and its clients,

CLAYTON attempted to cover-up the money laundering scheme by, among other things, falsely

telling the banks and law enforcement that the shell companies he created for CC-3 were legitimate

businesses. And as further detailed below, CLAYTON instructed CC-3 to find “dirt” on an elderly




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victim from whom CC-3 stole nearly $200,000 so that they could mislead and obstruct bank and

law enforcement investigations.

       27.     In or about 2021, CLAYTON described the nature of his scheme during recorded

conversations with an undercover law enforcement agent posing as a potential Rochart client.

During those conversations, CLAYTON bragged about having clients who were fugitives from

justice, probed the undercover agent about any connections to law enforcement and said “[w]e

don’t deal with anyone who has law enforcement connections,” and described his scheme as

follows: “we incorporate a company, set-up a bank account, . . . and the money starts rolling.”

       28.     In or about December 2021, federal law enforcement agents executed a court-

authorized search warrant at the Subject Premises and seized, among other things, CLAYTON’s

communications with CC-3 on encrypted messaging applications, some of which are detailed

below. For example, CLAYTON told CC-3 via WhatsApp that he was concerned law enforcement

was “digging into our business,” and he discussed fake cover stories that he would provide law

enforcement and bank compliance personnel if questioned.

       29.     After execution of the search warrant, and during the course of a Grand Jury

investigation, CLAYTON agreed to be interviewed by federal agents pursuant to a standard proffer

agreement with the United States Attorney’s Office for the District of Massachusetts. During an

interview conducted in Boston in or about January 2022, CLAYTON corruptly attempted to

obstruct, influence, and impede an official proceeding by making several false statements about

the money laundering scheme to federal agents.

       30.     By January 2022, as a result of the execution of the search warrant and meeting

with federal law enforcement, CLAYTON knew that his conduct was under scrutiny. However,

there is probable cause to believe, as set forth below, that CLAYTON nevertheless continued his




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money laundering scheme by using an online payment processing service rather than fraudulent

bank accounts.

                                         PJT International

       31.       According to public records, on or about August 22, 2019, CLAYTON

incorporated PJT International, LLC (“PJT International”) in Delaware. Investigators have not

identified any office, employees, business, customer base, or revenue for PJT International.

       32.       On or about January 3, 2020, CLAYTON opened a Bank of America checking

account in the name of PJT International (the “PJT International BoA Account”) at a branch in

Rhode Island. In opening the account, CLAYTON listed himself as the “manager” of PJT

International, and he listed himself as the sole authorized signatory on the account. CLAYTON

did not indicate that any foreign persons owned, controlled, or directed any part of PJT

International’s purported business.

       33.       From in or about January 2020 to March 2020, the PJT International BoA Account

received more than $175,000 in wire transfers and deposits, including from individuals in the

United States, and shortly after each incoming transfer and deposit, the funds were wired to foreign

bank accounts in Hong Kong and Singapore, among other countries.

       34.       For example, Victim-1, whom law enforcement has interviewed, was a romance

scam victim who sent money under false pretenses to the PJT International BoA Account opened

by CLAYTON. Victim-1 lived in Texas. In or about September 2019, Victim-1 met an individual

on an internet dating website. The individual told Victim-1 that he was a member of the U.S.

military deployed in the Middle East.        Victim-1 and the individual developed an online

relationship. The purported military member requested that Victim-1 send him money for a variety

of purported reasons, including to pay for costs to repatriate a significant sum of money that he




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had located abroad. From in or about September 2019 to April 2020, Victim-1 wired money to

various bank accounts at the instruction of the purported military member and other individuals

who contacted her on behalf of the military member.

       35.    For example, on or about February 25, 2020, Victim-1 wired approximately

$40,000 to the PJT International BoA Account. On or about the same day, more than $33,000 was

wired from the PJT International BoA Account to a bank account in Poland.

       36.    On or about March 6, 2020, the PJT International BoA Account was liquidated and

closed by CLAYTON at a branch in Rhode Island.

       37.    Based on the investigation, it appears that the true beneficial owners of the PJT

International BoA Account and controllers of the PJT International “business” paid CLAYTON

fees for his services. For example, on or about February 3, 2020, and again on or about March 2,

2020, wire transfers of $150 were sent from the PJT International BoA Account to a bank account

in the name of “Rochart Inc.” for “monthly maintenance fees.”

                                            Cryson

       38.    In or about September 2019, CLAYTON and CC-2 began a business relationship

with CC-3. CC-3 contacted CLAYTON and CC-2 by e-mail regarding opening U.S. bank

accounts, and CC-3 told CLAYTON and CC-2 that it was important to conduct his U.S. banking

“without being so much noticed.” In response, CLAYTON and CC-2 advised CC-3 via e-mail

that they would establish a shell company in Delaware and proceed to open U.S. bank accounts in

CLAYTON’s name secretly on behalf of CC-3. For example, on or about September 15, 2019,

CC-2 e-mailed CC-3, copying CLAYTON: “Your information is confidential with Delaware.”

       39.    On or about September 16, 2019, CLAYTON incorporated Cryson Trading LLC

(“Cryson”) in Delaware. Investigators have not identified any office, employees, business,




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customer base, or revenue for Cryson, which purports to be a trade company. Upon receipt of

Cryson’s federal tax identification number (EIN), CLAYTON e-mailed CC-3: “This is great. We

are now ready to travel to the branch and set up the account.”

       40.     On or about October 22, 2019, CLAYTON opened a JP Morgan checking account

in the name of Cryson (the “Cryson JP Morgan Account”) at a branch in Rhode Island. In opening

the account, CLAYTON listed himself as the “manager” of Cryson, and he listed himself as the

sole authorized signatory on the account. CLAYTON did not disclose CC-3’s involvement in the

business or indicate that any foreign persons owned, controlled, or directed any part of Cryson’s

purported business.

       41.     On or about October 23, 2019, CLAYTON sent the account information for the

Cryson JP Morgan Account to CC-3. In the e-mail, CLAYTON wrote, “Please advise the Login

ID you would prefer to use for Online Banking . . . Using that login ID and US Cellphone Number,

we will generate your Online Banking profile and send you an email requesting that you login and

establish your password.”

       42.     Meanwhile, CLAYTON and CC-2 discussed how much they would charge CC-3

for establishing Cryson as a shell company and opening U.S. bank accounts for him. For example,

CLAYTON and CC-2 exchanged several e-mails discussing how much they were going to charge

CC-3. CC-2 asked CLAYTON, “sorry to bother but just to double check – we would charge [CC-

3] with $900 per month . . . correct? No % on incoming amounts as we thought before? Flat fee is

better here, right?” CLAYTON responded, “ I think flat fee would be better.”

       43.     From in or about October 2019 to in or about December 2019, the Cryson JP

Morgan Account received more than $1.3 million in wire transfers and deposits from individuals

in the United States. Banks records that investigators have reviewed do not contain any identifiable




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bona fide commercial transactions by Cryson related to the transfers and deposits. Rather,

consistent with the pattern described above, CC-3 used the online banking credentials to authorize

and send wire transfers to foreign bank accounts shortly after the funds were received.

       44.     According to bank records, in or about December 2019, JP Morgan closed the

account due to suspected fraud and money laundering.          On or about December 15, 2019,

CLAYTON e-mailed CC-3 and CC-2, notifying them that “JPMC closed the Cryson Trading

account for potentially fraudulent activity.”

       45.     Less than one month later, CLAYTON and CC-3 discussed opening another bank

account for CC-3 in the name of Cryson even though JP Morgan closed the previous one for

fraudulent activity. On or about January 9, 2020, CC-3 e-mailed CLAYTON and CC-2 and wrote,

“Can you open Cryson Trading in Bank of America?”

       46.     On or about the next day, January 10, 2020, CLAYTON opened a Bank of America

checking account in the name of Cryson (the “Cryson BoA Account”) at a branch in Rhode Island.

In opening the account, CLAYTON listed himself as the “manager” of Cryson, and he listed

himself as the sole authorized signatory on the account. CLAYTON did not indicate that any

foreign persons owned, controlled, or directed any part of Cryson’s purported business.

       47.     From in or about January 2020 to in or about August 2020, the Cryson BoA

Account received more than $4.5 million in wire transfers and deposits, including the proceeds of

an elder abuse scam perpetrated over the internet, in violation of Title 18, United States Code,

Section 1343. Shortly after each incoming deposit or wire transfer, the funds were wired abroad

to foreign bank accounts, principally in China.

       48.     CLAYTON knew that CC-3 was using Cryson to launder criminal proceeds. For

example, on or about March 24, 2020, CLAYTON e-mailed CC-2 a list of Rochart clients, writing,




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“[W]e have the following Bad Actors at the moment.” Next to Cryson, CLAYTON wrote “AML,”

which is a common abbreviation for anti-money laundering. CLAYTON proposed charging these

“bad actors” a one-time premium fee of $5,000 to $9,000 that would compensate CLAYTON and

Rochart for the loss of monthly fees when the bank accounts were inevitably closed due to fraud.

CLAYTON justified this proposed premium, writing “we will lose out on the [monthly] fees we

would normally charge. 150 [per month] * 5 years = 9,000 USD.” CC-2 asked CLAYTON about

potentially closing the bad actors’ accounts based on the “fraud / ML,” and told CLAYTON that

“reopening them anywhere else means we are contributing to scams / ML.”               CLAYTON

responded, in part: “we are already ‘money mules’ complicit in their offenses,” which “opens us

up to charges,” and he stated that the one-time “fee also ensures our silence if there are issues.”

CC-2 responded by saying he did not think Rochart clients would pay the fee, telling CLAYTON:

“[T]here are cheaper ways to get bank account. E.g. luring regular people into their scheme.”

CLAYTON replied that he would “try” the one-time fee with Cryson and “see what they say.”

       49.     On or about April 15, 2020, CLAYTON sent CC-2 an e-mail in which he proposed

a “bad actor strategy” of opening a new bank account for a Rochart client whose bank accounts

had been subjected to bank scrutiny for fraud or money laundering, and then negotiating a fee with

the client for continuing to launder their funds through a new account. CLAYTON recommended

to CC-2 that they open new bank accounts with a bank that had more “slack” compliance

processes. In a later e-mail addressing the same issue, CLAYTON called his idea a “penalty

amount for being a bad actor,” and he proposed an amount of $2,000 to $5,000. In response to

CC-2 telling CLAYTON that Rochart clients would find a cheaper “money mule” rather than pay

the fee, CLAYTON responded via e-mail: “The hope is that what we are offering they cannot get

elsewhere—an account wholly operated by them, not needing a US person. That should be worth




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something.” Based on my experience and training, I understand CLAYTON’s statement to be an

admission that he and CC-2 were committing bank fraud, in violation of Title 18, United States

Code, Section 1344. CLAYTON further told CC-2 that he could not continue to be a signatory on

such accounts without further compensation “because the risks for us are too high.” CLAYTON

also told CC-2 that an important service to provide such “bad actors” was depositing cash and

Western Union money orders.

        50.     On or about May 10, 2020, CLAYTON sent CC-2 another e-mail in which he

acknowledged that Cryson and CC-3 were “known Bad Actors,” and in discussing how to best

serve such clients in the future, CLAYTON stated that “a vital piece of the puzzle for the Bad

Actors is the ease of sending wires.” Later, on or about the same day, CLAYTON told CC-2 via

e-mail that Cryson and CC-3 had agreed to a $5,000 “bad actor” fee.

        51.     In or about June 2020, CLAYTON wrote a “strategic thinking” document for CC-

2. CLAYTON wrote that they had “initial success” with JP Morgan and Bank of America,

“followed by a ban when a bad actor does something.” CLAYTON wrote that “the higher number

of accounts the higher the likelihood of being banned” by banks, and that he and Rochart were

becoming “unable to find suitable B+M [brick and mortar] banks,” and that their business would

be “doomed to failure once we run out of B+M banks.” Based on those observations, CLAYTON

wrote that Rochart’s “only long term strategy that will work” was: “take more risk, for more

returns . . . keep the number of accounts low to reduce likelihood of being banned . . . minimize

detection . . . get big or get out.”

        52.     On or about May 26, 2020, CLAYTON e-mailed CC-3 about how to best continue

the money laundering scheme while evading detection by law enforcement and compliance

scrutiny from banks. Among other things, CLAYTON proposed that for money orders that CC-3




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directed to be sent to CLAYTON’s shell company bank accounts, “amounts must be irregular—

no more rounded to the nearest $10,000.” Based on my training and experience, I know that banks

and law enforcement often scrutinize transactions in round numbers, because such transactions

lack indicia of bona fide commerce. For example, it is common for items to be priced to 99 cents

on the dollar or for services to reflect taxes and costs, which do not usually add up to round

numbers. I understand that the creation of irregular amounts indicates an effort to disguise an

illicit financial transaction as the product of bona fide commercial activity.

       53.     On or about May 26, 2020, in the same e-mail exchange, CLAYTON proposed that

CC-3 set-up multiple “overseas accounts for the wires” from CLAYTON’s shell companies, and

that the business names for those accounts should reflect involvement in industries that would be

consistent with the shell company. In exchange for a $12,000 fee, CLAYTON proposed setting

up two new shell corporations for CC-3, and told him that “throughout the process everything is

under our control, despite the outward appearance to the bank.” CLAYTON outlined a process

through which he could accept money to the shell companies’ accounts in the form of money

orders, checks, and wire transfers, and then allow a representative of CC-3 to make outgoing

“international wire transfers.” In response, CC-3 told CLAYTON that he wanted the process to

be “safe and secured” and that “I don’t want my name to be in any of these process[es].”

CLAYTON responded, “your name is not on any of it. You need to come up with a name and

email address for the [banking] login only.” CLAYTON also suggested that they should set-up

websites for the shell companies so that they appeared to be legitimate businesses. In a separate

e-mail, CLAYTON told CC-2 that he would give him 20 percent of Rochart’s revenue from CC-

3.




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        54.     Separately, on or about May 24, 2020, CLAYTON e-mailed CC-2 about several

clients he identified as “bad actor[s]” whose accounts were under scrutiny by JP Morgan.

CLAYTON told CC-2, “I think we may need to ask them [for approval] to setup new LLC’s. Their

names may be tarnished in the banking system.” CLAYTON also told CC-2 that they needed “to

come [up] with a fee for the transfer” to new bank accounts.

        55.     Victim-2, whom law enforcement has interviewed, was the victim of an elder fraud

scheme who, in or about June 2020 (following the e-mails discussed above) sent money under

false pretenses to the Cryson BoA Account that CLAYTON opened on behalf of CC-3. Victim-2

lived in Missouri.

        56.     In or about the summer of 2019, Victim-2 bought a five-year subscription for

antivirus software from a company named BTP BG-Supple. On or about June 25, 2020, Victim-

2 received a phone call from a person who claimed to be an employee of the antivirus software

company. The purported employee informed Victim-2 that the company was going out of

business, and that the company would refund him $1,000 for his remaining antivirus subscription.

The employee directed Victim-2 to a website where he entered his online banking information so

that the company could send him a refund. The employee then told Victim-2 that he had

mistakenly transferred $100,000 to Victim-2’s bank account rather than the $1,000 refund. The

employee instructed Victim-2 to “return” the $100,000 by obtaining a cashier’s check and mailing

it to a mailing address in Woodside, New York. The purported employee told Victim-2 to make

the check payable to Cryson Trading LLC.

        57.     On or about June 26, 2020, Victim-2 mailed the $100,000 check payable to Cryson

to that location as directed.




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       58.     On or about June 29, 2020, the $100,000 check from Victim-2 was deposited into

the Cryson BoA Account at a branch in New Jersey. Shortly thereafter, Victim-2 contacted his

bank, which notified him that his account never received a $100,000 transfer. The bank told

Victim-2 that the $100,000 cashier’s check had been drawn on his account.

       59.     On or about July 15, 2020, the $100,000 check was charged back on the Cryson

BoA Account and returned. Based on this investigation and my training and experience, Bank of

America’s standard practice in the event of a charge-back is to shred the original check, retain a

scanned copy, and send an image of the scanned check—which is considered a legal negotiable

copy—to the receiving account holder, in this case, CLAYTON.

       60.     On or about July 22, 2020, CLAYTON deposited the $100,000 check from Victim-

2 into the Cryson BoA Account at a branch in Rhode Island. On or about July 24, 2020, Bank of

America returned the $100,000 check and charged it back on the Cryson BoA Account.

       61.     In or about August 2020, CLAYTON closed and liquidated the Cryson BoA

Account.

       62.     Thereafter, and as further detailed below, CLAYTON and CC-3 abandoned the

Cryson name, discussed how it was difficult to continue their scheme at large, national banks with

robust compliance processes and anti-money laundering controls, and they discussed alternative,

smaller banks to launder funds for CC-3. CLAYTON did not open another bank account for CC-

3 in the name of Cryson, or for any other CC-3-related entity at either Bank of America or JP

Morgan.

       63.     For example, on or about August 15, 2020, CC-3 e-mailed CLAYTON and CC-2,

“So finally BoA is closed now. When will your other set up is ready to use [sic] . . . meanwhile if

you can open other banks let me know but within 15 days max.”




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        64.   CC-3 paid CLAYTON fees for his services in connection with laundering funds

through Cryson.    For example, in or about May, June, and July 2020, wire transfers for

approximately $150, which were identified as “monthly management fees,” were sent from the

Cryson BoA Account to a bank account controlled by CLAYTON in the name of “Rochart Inc.”

Providence Sanitizer, Sustainable Agriculture Technology, Farmers Market Purveyors, and XIM

        65.   Following the closure of the Cryson JP Morgan Account and Cryson BoA Account,

CLAYTON and CC-3 discussed how to continue the scheme with new shell companies and bank

accounts. For example, in or about September 2020, CC-3 e-mailed CLAYTON and CC-2, “Boss

its [sic] six months now, last time you said first week of September you will get access for that

also now 20 days passed. It will be nice if you can straight away inform me whether you can do

it or not.”

        66.   Thereafter, CLAYTON incorporated four new shell companies to launder money

for CC-3. They were: Providence Sanitizer Inc. (“Providence Sanitizer”), Sustainable Agriculture

Technology Inc. (“Sustainable Agriculture”), Farmers Market Purveyors Inc. (“Farmers Market”),

and XIM Trade Inc. (“XIM”). Based on bank records and documents seized pursuant to search

warrants, each of those four entities was merely a shell company with no legitimate pre-existing

or ongoing business; CLAYTON incorporated them solely for the purpose of concealing CC-3’s

identity and laundering money for CC-3 through U.S. bank accounts before the proceeds were

wired abroad for CC-3 and CC-3’s clients. After the Cryson accounts were closed and CLAYTON

and CC-3 abandoned Cryson, CLAYTON opened at least 12 bank accounts at five different banks

(not JP Morgan and Bank of America) in the names of these four companies for CC-3, and over

the course of approximately one year, those accounts received approximately $30 million.




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       67.     Public records show that on or about September 8, 2020, CLAYTON incorporated

Providence Sanitizer in Rhode Island.

       68.     Bank records show that soon after Providence Sanitizer’s incorporation,

CLAYTON opened several bank accounts at various banks in the company’s name. For example,

on or about September 21, 2020, CLAYTON opened several bank accounts in the name of

Providence Sanitizer at a Citizens Bank branch in Massachusetts. CLAYTON later opened

additional accounts in the name of Providence Sanitizer at different banks. For example, on or

about May 13, 2021, CLAYTON opened a Navigant checking account in the name of Providence

Sanitizer (the “Providence Sanitizer Navigant Account”) at a branch in Rhode Island. In opening

these accounts, CLAYTON listed himself as the “President” of Providence Sanitizer, and he listed

himself as the sole authorized signatory on the account. CLAYTON did not indicate that any

foreign persons owned, controlled, or directed any part of Providence Sanitizer’s purported

business.

       69.     Based on my review of bank records, the Providence Sanitizer accounts that

CLAYTON opened frequently received large wire transfers and deposits of cash and money orders

from individuals in the United States. These transfers and deposits had no legitimate business

purpose because, as explained below, Providence Sanitizer was not a real company. In the bank

records that I reviewed, I could not identify any bona fide commercial transactions, such as for

payroll, services, lease payments, or purchases of supplies or inventory. CLAYTON told CC-3

that the company purported to sell hand sanitizer through distributors in the United States. The

bank records for Providence Sanitizer do not include any transactions consistent with that line of

business. Instead, the bank records show that shortly after the incoming wire transfers and

deposits, the funds were transferred from CLAYTON’s accounts to bank accounts abroad. In total,




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CLAYTON opened and operated at least four bank accounts in the name of Providence Sanitizer

for CC-3, which received and laundered at least $16.8 million.

       70.     On or about January 8, 2018, CLAYTON incorporated Sustainable Agriculture in

Delaware.

       71.     As with Providence Sanitizer, CLAYTON opened several bank accounts at various

banks in the name of Sustainable Agriculture on behalf of CC-3. For example, on or about

September 30, 2020, CLAYTON opened several bank accounts in the name of Sustainable

Agriculture at a Citizens Bank branch in Massachusetts. CLAYTON later opened additional

accounts in the name of Sustainable Agriculture at different banks. For example, on or about May

25, 2021, CLAYTON opened a Navigant checking account in the name of Sustainable Agriculture

at a branch in Rhode Island. In opening these accounts, CLAYTON listed himself as the

“President” of Sustainable Agriculture, and he listed himself as the sole authorized signatory on

the account. CLAYTON did not indicate that any foreign persons owned, controlled, or directed

any part of Sustainable Agriculture’s purported business.

       72.     Based on my review of bank records, the Sustainable Agriculture accounts that

CLAYTON opened frequently received large wire transfers and deposits of cash and money orders

from individuals in the United States. These transfers and deposits had no legitimate business

purpose because, as explained below, Sustainable Agriculture was not a real company. Shortly

after the incoming wire transfers and deposits, the funds were transferred from CLAYTON’s

accounts to bank accounts abroad. In total, CLAYTON opened and operated at least four bank

accounts in the name of Sustainable Agriculture for CC-3, which received and laundered at least

$6.9 million in proceeds.




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        73.     After the closure of Cryson’s bank accounts and CLAYTON’s and CC-3’s decision

to abandon that shell company, on or about September 28, 2020, CLAYTON told CC-3 that he

had set-up two shell companies, Providence Sanitizer and Sustainable Agriculture, and was in the

process of opening new bank accounts to continue the scheme. CLAYTON wrote an e-mail to

CC-3 telling him about the fake business purposes of the shell companies: “Finally after months

of work and changes in banks three times, together with changes to the incorporations, we have

finally arrived at the moment where we can begin testing . . . We have set up two corporations:

1) Providence Sanitizer Inc . . . sells hand sanitizers through distributors, located throughout the

United States; 2) Sustainable Agriculture Technology Inc. . . . sells organic fertilizers and micro

algae products through distributors.”     As with Providence Sanitizer, the bank records for

Sustainable Agriculture do not contain transactions consistent with a bona fide business that

distributed fertilizers and algae.

        74.     As to Sustainable Agriculture, which CLAYTON incorporated in 2018,

CLAYTON wrote to CC-3: “This is a corporation we have owned for a while, and was recently

resuscitated.” Attached to the e-mail, CLAYTON provided CC-3 with instructions about how co-

conspirators could deposit or transfer proceeds into the bank accounts for these two companies,

including wire transfers, money orders, cash deposits, checks, and Stripe payments. As to Stripe,

which is an online payment processor for retailers, CLAYTON proposed that he could provide a

fake invoice from Providence Sanitizer and Sustainable Agriculture to justify the payment.

CLAYTON told CC-3 that remote cash and money order deposits would “raise flags for US

banks,” and directed all cash and money orders to be mailed to him for deposit.

        75.     In response to CLAYTON, CC-3 asked why CLAYTON was incorporating two

new companies rather than the one to replace Cryson: “What is the use of two companies




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[Providence Sanitizer and Sustainable Agriculture] you opened?” CLAYTON replied via e-mail,

on or about October 5, 2020: “We chose two companies to spread the load a little in case there are

large volumes of cash involved. It also provides a safety valve if one of the accounts get

suspended.” Based on my training and experience, I know that persons laundering money often

divide criminal proceeds among multiple entities and accounts to limit the volume and value of

potentially suspicious transactions and therefore to disguise and to conceal the nature of underlying

illicit activity.

          76.       Further, on or about October 5, 2020, CC-3 asked CLAYTON about how they

would execute the outgoing foreign wire transfers and how to justify such wires in response to

inquiries from banks: “How can we transfer money internationally . . . like what answers we will

reply to bank on such transfers?” On or about the same day, CLAYTON replied with instructions

on how to send the proceeds of the scheme abroad while minimizing the risk of detection by banks

and law enforcement: “We recommend more than one account for wires out. The accounts should

resemble the industry of each of the participants i.e. chemical company for [Providence] Sanitizer,

and agriculture for [Sustainable Agriculture] Technology.”

          77.       As set forth above, CLAYTON agreed to launder additional proceeds for CC-3,

and “spread the load” away from accounts in the name of Providence Sanitizer and Sustainable

Agriculture, by incorporating additional shell companies.

          78.       On or about January 11, 2021, CLAYTON incorporated Farmers Market in Rhode

Island.

          79.       Soon after the company’s incorporation, CLAYTON opened several bank accounts

at various banks in the company’s name. For example, on or about January 19, 2021, CLAYTON

opened several bank accounts in the name of Farmers Market at a Citizens Bank branch in




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Massachusetts. CLAYTON later opened additional accounts in the name of Farmers Market at

different banks. For example, on or about March 15, 2021, CLAYTON opened a TD Bank account

in the name of Farmers Market at a branch in Rhode Island. In opening these accounts, CLAYTON

listed himself as the “President” of Farmers Market, and he listed himself as the sole authorized

signatory on the account. CLAYTON did not indicate that any foreign persons owned, controlled,

or directed any part of Farmers Market’s purported business.

       80.     Based on my review of bank records, the Farmers Market accounts that CLAYTON

opened frequently received large wire transfers and deposits of cash and money orders from

individuals in the United States. These transfers and deposits had no legitimate business purpose

because Farmers Market was not a real company. Shortly after the incoming wire transfers and

deposits, the funds were transferred from CLAYTON’s accounts to bank accounts abroad. In total,

CLAYTON opened and operated at least three bank accounts in the name of Farmers Market for

CC-3, which received and laundered at least $4.7 million in proceeds.

       81.     As the volume of transactions in these accounts increased, CLAYTON expressed

concern to CC-3 about the risk of detection and proposed opening additional bank accounts and

incorporating yet another shell company. For example, on or about February 6, 2021, CLAYTON

sent a WhatsApp message to CC-3 telling him that they had “processed” $4.3 million for two of

the shell companies in the previous three months, and asked “how big is this going to get? . . . and

we are adding a third company. Does this mean total for the year of [$]25m?” CC-3 replied:

“Almost if we won’t have problem till year [end]. I want to continue as much as we can.”

       82.     On or about February 10, 2021, CLAYTON notified CC-3 that a victim had

reported being defrauded into sending money to one of CLAYTON’s accounts in the name of

Providence Sanitizer at Citizens Bank. He wrote: “Tread carefully my friend. Just spoke to the




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Citizens Fraud team. . . . We need to return the wire asap.” On or about the same day, CC-3 asked

CLAYTON for the online banking login information to authorize outgoing wire transfers: “Pls

give access for farmers purveyors inc in our citizen login.”

       83.     CLAYTON expressed concerns to CC-3 that it was becoming difficult to justify

the number of outgoing wires from the Providence Sanitizer accounts using a cover story of paying

“suppliers.” To minimize the risk of detection and account closure, CLAYTON then proposed

creating a new corporation in the “trade association” industry for CC-3. On or about February 11,

2021, CLAYTON sent CC-3 a WhatsApp message: “The new plan is designed to provide a better

explanation of the number of wires.” For example, as to Providence Sanitizer, CLAYTON wrote:

“As a distributor of Sanitizers, there should not be so many different suppliers. . . . We need a

better story to cover the number of wire transfers to a large number of suppliers.” CLAYTON

wrote: “Using the trade association was the answer.”

       84.     On or about the same day, CLAYTON proposed re-using the Cryson name in a

WhatsApp message to CC-3. CC-3 responded: “Don’t use Cryson, use some other name.”

CLAYTON replied: “Ok. Will work on the name . . . all of it is just for show to justify all the

wires.” CLAYTON then asked CC-3: “How about XiM Trade Inc. a company providing benefits

to traders. . . . the new structure should allow you to scale to [$]50m USD per annum.” CC-3

responded: “Superb!!”

       85.     On or about February 25, 2021, CLAYTON told CC-3 via e-mail that he had

opened another bank account for Providence Sanitizer: “We have been working on this solution

for a while. Yesterday we travelled interstate to meet with bankers @ Wells Fargo in the state of

Connecticut. They have no local branches in Rhode Island. We opened an account with them for

Providence Sanitizer Inc.”




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       86.      On or about the same day, CLAYTON e-mailed CC-3, “This is a proposal to cover

the cost of establishing XIM Trade account and the Wells Fargo account . . . In view of our

relationship, we are prepared to offer the following: 1) Setup = 2,500 USD in total for both

setups…2) Monthly fees = 1,500 USD in total for both . . . If you are OK with this we will deduct

the setup fees and start work on XIM Trade Inc.” CC-3 expressed some hesitation about creating

another corporation without a fee reduction for outgoing international wire transfers: “How we

will justify XIM for all the wires and reduction of wire fees?” On or about February 27, 2021,

CLAYTON explained, “We need XIM to justify all the wires going to different people . . . .”

CLAYTON further wrote: “The volumes are increasing and we need to do XIM to ensure that the

story holds and we can handle the volume.”

       87.      On or about March 1, 2021, CC-3 agreed to CLAYTON’s proposal and wrote,

“Craig, if you are insisting so much on this part, then please make it sure [sic] our wire charges

get reduced.”

       88.      On or about March 11, 2021, CLAYTON incorporated XIM in Rhode Island. XIM

is a shell company with no U.S. office, employees, business, customer base, or revenue. On or

about March 12, 2021, CLAYTON sent CC-3 a message via WhatsApp: “We should plan on

additional banks for ProSan [Providence Sanitizer], SAT [Sustainable Agriculture] and FMP

[Farmers Market] to spread the load.”

       89.      Based on a review of documents and communications seized pursuant to search

warrants, I know that CLAYTON and CC-1 frequently communicated by their Rochart e-mail

accounts, and that CC-1 frequently executed banking deposits and withdrawals on behalf of

CLAYTON and Rochart. For example, on or about May 26, 2021, CLAYTON e-mailed Navigant

to notify the bank that CC-1 would be depositing a cashier’s check payable to Sustainable




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Agriculture and withdrawing a cashier’s check from the same Navigant Sustainable Agriculture

account payable to XIM.

       90.    On or about March 1, 2021, CC-3 e-mailed CLAYTON to tell him that he would

be receiving seven checks via mail payable to various shell companies that CLAYTON had set-up

for CC-3. CC-3 directed CLAYTON to deposit the checks “not altogether.” CLAYTON

forwarded CC-3’s email to CC-1, who directed CLAYTON: “We need to deposit on check date.”

       91.    On or about March 20, 2021, CLAYTON sent CC-3 a WhatsApp message to tell

him that he had received concerns from a bank regarding certain transactions: “We have an account

review coming up on Monday. Pray for us that things go well. . . . We are sure that the current

volume will be the subject of some discussion. We will be sticking to the XIM story to explain

the big checks.” CC-3 replied: “I feel you will manage it by XIM story is good option.” Further,

on or about April 11, 2021, CLAYTON told CC-3 in a WhatsApp message: “With [t]he right

storyline and my ownership of XIM there should be no problem.”

       92.    On or about March 29, 2021, CC-3 e-mailed CLAYTON to ask “who has complete

knowledge of our business transactions and deals” and “who is the one who takes charge . . . in

case of your absence.” On or about the next day, CLAYTON responded: “My wife is involved

in the business . . . she does all the banking and knows what is going on.” CC-3 replied to

CLAYTON that it was “nice to hear” that CC-1 “has complete knowledge of our business” and

asked CLAYTON to introduce him to CC-1. On or about the same day, CLAYTON e-mailed CC-

3, copying CC-1 at her Rochart e-mail address, to introduce her: “This is an introduction to my

wife . . . She currently assists me in the practice as an Executive Account Manager and Banking

Specialist. Her position is equivalent to a partner.” On or about the same day, CC-1 responded to

CC-3: “Please let me know how I may be able to help.”




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        93.     On or about March 31, 2021, CLAYTON and CC-3 discussed, via WhatsApp,

meeting in Singapore to discuss business. CLAYTON told CC-3 that he “had clients and banking

connections there.”

        94.     On or about April 14, 2021, CLAYTON sent CC-3 a WhatsApp message: “How

big is this going to get? We are currently averaging 300-400k per working day = 80m++ per

annum.” CC-3 responded: “If you want to increase we can go up to USD 1m daily transfers but

than [sic] it will be very risky if not planned properly.” CLAYTON replied: “Before we go to 1m

per day, I will have to fly to Dubai to meet you, so we can talk.” CC-3 told CLAYTON: “Dubai

is open and there is not any risk.” 2

        95.     On or about April 16, 2021, CLAYTON told CC-3 via WhatsApp that PNC Bank

had placed a hold on one of CLAYTON’s accounts in the name of Sustainable Agriculture. CC-

3 responded: “What about the money stuck in accounts, it’s USD 180k around!!” CLAYTON

replied that he would attempt to resolve the hold, stating: “If it was easy – everyone would be

doing it.”

        96.     On or about April 21, 2021, CLAYTON notified CC-3 via WhatsApp that Wells

Fargo was closing one of their accounts in the name of Providence Sanitizer due to “multi-state

cash deposits” that were indicative of fraud. CLAYTON proposed opening an account in the name

of XIM to replace the Providence Sanitizer account, but CC-3 responded: “Even if they open what

is the guarantee they won’t close that also.”

        97.     CC-3 encouraged CLAYTON to explore smaller banks with less stringent anti-

money laundering controls. For example, on or about April 21, 2021, CC-3 told CLAYTON via




        2
        On or about March 31, 2021, CLAYTON told CC-3, via WhatsApp, that he may have to
“run away to Dubai” due to his banking activity.


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WhatsApp that “big banks create[] more problems,” and on or about the next day wrote, if they

continued to use accounts at larger banks, “USA revenue team will come to our door, big banks

will find potential crime in it. I feel only small regional banks we can do such things, big banks

understand that we don’t even have company websites and we are doing business in millions…”

CLAYTON responded on or about April 22, 2021 that even smaller banks were raising compliance

and anti-money laundering issues: “We have had trouble with all the Citizens accounts except

FMP [Farmers Market].       First was ProSan [Providence Sanitizer], then SAT [Sustainable

Agriculture], now Rochart. We need to slow things down, ride out the storm, and plan for a better

way.”

        98.    As banks began to close CLAYTON’s accounts in the name of Providence

Sanitizer, Farmers Market, and Sustainable Agriculture, and before he was able to open a bank

account in the name of XIM, CLAYTON directed CC-3 to have proceeds laundered through bank

accounts in the name of Rochart itself. For example, on or about May 10, 2021, CLAYTON told

CC-3 via WhatsApp: “Looks like the 40k transfer to SAT [Sustainable Agriculture] will stick. We

should setup the Rochart [outgoing] wires and we will transfer from SAT to Rochart and send the

wires this morning . . . Do not send more deposits for ProSan [Providence Sanitizer] or SAT. We

have no way of depositing them. Rochart and FMP [Farmers Market] are OK.”

        99.    On or about May 10, 2021, CLAYTON sent a message to CC-3 via WhatsApp:

“Bad news. Received mail this morning that Citizens is closing all accounts.” CLAYTON told

CC-3: “We have been approved for Navigant so, we will open ProSan [Providence Sanitizer] and

SAT [Sustainable Agriculture] with them.” Later the same day, CLAYTON opened a TD Bank

checking account in the name of XIM (the “XIM TD Account”) at a branch in Rhode Island. In

opening the account, CLAYTON listed himself as the “Owner” of XIM, and he listed himself as




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the sole authorized signatory on the account. CLAYTON did not indicate that any foreign persons

owned, controlled, or directed any part of XIM’s purported business.

       100.   Two days later, on or about May 12, 2021, CC-3 asked CLAYTON via WhatsApp,

“[W]ill it be safe depositing money orders one shot 50k in [TD] bank for you the way you did in

citizen[s] or will you do in parts[?]” CC-3 told CLAYTON that deposits above $10,000 would

attract “attention.” CLAYTON responded, “Will probably split it up and go to more than one TD

branch.” Based on my experience and training, I understand CLAYTON to have indicated that he

would structure transactions specifically to avoid detection of the ongoing money laundering

scheme.

       101.   On or about May 14, 2021, CLAYTON sent a WhatsApp message to CC-3 to tell

him that Wells Fargo was investigating a $9,000 fraudulent transfer into an account in the name

of Providence Sanitizer. CLAYTON wrote: “We have to return 9k from the WF account. . . . This

needs to be done quickly to avoid trouble with the FBI.”

       102.   Meanwhile, CLAYTON charged CC-3 thousands of dollars per month for

executing the laundering scheme, and CLAYTON was compensated by directly withdrawing

funds from the accounts of the shell companies. For example, on or about June 1, 2021,

CLAYTON sent CC-3 a message via WhatsApp: “Fees for this month will be 4,000 USD,

reflecting the extra work we are involved in. From which account would you like us to take it?”

CC-3 responded: “Take from Navigant SAT [Sustainable Agriculture].” On or about July 12,

2021, CLAYTON asked CC-3 via WhatsApp: “Fees. Our fees for this month = 4,000 USD.

Which account do you want us to draw from.” CC-3 responded: “Providence Navigant.”

       103.   On or about June 4, 2021, CC-3 asked whether they would continue to use Farmers

Market accounts in the future. CLAYTON told CC-3, via WhatsApp: “Focus on XIM . . . it is the




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best storyline for the circumstances.” Six days later, on or about June 10, 2021, CLAYTON told

CC-3 via WhatsApp: “May need to close FMP [Farmers Market]—the storyline is not holding up.

Everything good with XIM.” Further, on or about June 23, 2021, CLAYTON sent CC-3 a

WhatsApp message: “FMP [Farmers Market] TD too many questions. No questions about XIM.”

       104.    On or about July 17, 2021, CLAYTON told CC-3 via WhatsApp: “At the moment

we are banned from five banks . . . we are running out of banks locally.” CC-3 responded: “We

can form new company and then start again with these banks.” CLAYTON replied: “We are

banned not the company. Anything associated with me is banned . . . working on another

solution.” 3 As set forth further below, there is probable cause to believe that the “solution” to

using banks that CLAYTON referenced was using online payment processors, such as Stripe.

           Victim-3 and CLAYTON’s False Statements to Law Enforcement and Banks

       105.    Victim-3 was the victim of an elder fraud scheme who was induced under false

pretenses to send money to the Providence Sanitizer Navigant Account opened by CLAYTON and

to whom CLAYTON ultimately returned money from the XIM TD Account. Victim-3 is a resident

of California. Specifically, Victim-3 was targeted by a series of telephone scams. After Victim-3

was initially defrauded of several thousand dollars, he was contacted by an individual posing as

an FBI agent. The purported FBI agent told Victim-3 that he could help Victim-3 capture the

fraudsters who had previously targeted him, in exchange for a down payment.

       106.    On or about June 29, 2021, Victim-3 withdrew a $190,000 cashier’s check from a

Bank of America account in his name. As directed by the purported FBI agent, Victim-3 made




       3
         On or about April 2, 2021, CLAYTON e-mailed CC-2 to notify him that a Rochart client
had “attracted the attention of the fraud department,” and that the client’s account with Bank of
America would soon be closed. CLAYTON further told CC-2: “We should offer to open an
account for him [the client] with another bank (for free) and transfer management to [CC-1].”


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the check payable to Providence Sanitizer, and he sent the check via FedEx to the Clayton

Residence in Cranston, Rhode Island. The purported FBI agent told Victim-3 that CLAYTON

was an attorney assisting him with the “investigation” into the return of Victim-3’s money.

       107.    On or about July 2, 2021, CC-3 sent CLAYTON a WhatsApp message with a

photograph of the $190,000 check, and wrote, “you have got cashier check of 190k, please deposit

in Navigant today.”

       108.    On or about July 2, 2021, as captured by Navigant security cameras, CLAYTON

deposited Victim-3’s $190,000 cashier’s check into the Providence Sanitizer Navigant Account

via a drive-up ATM, with his spouse CC-1 in the passenger seat:




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       109.    On or about July 21, 2021, upon receiving a report of the fraudulent $190,000

cashier’s check, a police detective contacted CLAYTON by telephone. CLAYTON answered the

phone and confirmed his identity. The detective informed CLAYTON that he was investigating a

reported fraud incident involving Victim-3. CLAYTON confirmed that he operated his business,

Rochart, from the Clayton Residence, and that Providence Sanitizer was one of the businesses for

which he provided services. When asked about the $190,000 cashier’s check, CLAYTON said

the money was for a large order of sanitizers. When asked for additional information, such as an

invoice, to support the sanitizer order, CLAYTON told the detective that there was no invoice

because the sanitizer order was placed by phone. During a subsequent call the same day,

CLAYTON told the detective that he would reimburse Victim-3. Navigant froze CLAYTON’s

accounts, including the Providence Sanitizer account.

       110.    On or about July 21, 2021, CLAYTON e-mailed the detective asking how long the

investigation would take and said: “If these investigations take months, then I have [to] do some

serious restructuring of my personal and business finances.” In response to the detective’s request

for an invoice reflecting a purported $190,000 sanitizer order that Victim-3 placed, CLAYTON

wrote: “I have reached out to the contractor in the Philippines who handles the orders, and the

Chinese supplier. Neither of them want to cooperate at this point.”

       111.    On or about July 21, 2021, CLAYTON sent a WhatsApp message to CC-3 to notify

him of Victim-3’s report of fraud and the inquiry from law enforcement. CLAYTON told CC-3:

“We have a problem. The only way to fix this is to return the money. We need to do so asap.”

       112.    The following day, CLAYTON sent via UPS a $190,000 cashier’s check to Bank

of America for the benefit of Victim-3. The UPS packaging slip showed a return address for

CLAYTON at the Clayton Residence. The cashier’s check was drawn from the XIM TD Account,




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not a Providence Sanitizer account. CLAYTON told CC-3 via WhatsApp: “Will draw funds from

XIM TD.”

        113.       On or about the same day, CLAYTON sent CC-3 a WhatsApp message about the

false cover story he gave the agent: “Ok funds returned. Story is [Victim-3] ordered sanitizers and

then changed his mind. Order cancelled. Please ensure your client follows this line . . .”

Meanwhile, CLAYTON expressed his willingness to continue working for CC-3, writing:

“Working through the police issues today. Will handle wires later.” CLAYTON and CC-3 agreed

that CLAYTON would attempt to convince Navigant to unfreeze their accounts using the false

cover story.

        114.       On or about July 23, 2021, CLAYTON spoke with a Navigant security manager

and attempted to provide the false cover story as grounds for releasing the funds in his accounts.

CLAYTON told the Navigant employee that Victim-3 placed a $200,000 sanitizer order by calling

an answering service for Providence Sanitizer in the Philippines and ordering “200,000 units” of

sanitizer stock.

        115.       On or about July 26, 2021, CLAYTON spoke with a second Navigant employee

and attempted to provide another false cover story. He told the employee that a “new vendor” of

Providence Sanitizer that he contracted with inadvertently sent the money to him from Victim-3.

        116.       On or about July 31, 2021, with the Navigant accounts controlled by CC-3 and

CLAYTON still frozen due to the fraud targeting Victim-3, CC-3 asked CLAYTON via WhatsApp

for a status update from law enforcement and Navigant. CLAYTON asked CC-3 to find “dirt” on

Victim-3: “Nothing moving there. Do we have any dirt on [Victim-3] we [can] use to distract the

police?” CLAYTON added: “The police are taking too much interest in our business . . . need

something.”




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       117.    On or about August 2, 2021, CC-3 again asked, via WhatsApp: “Any news on

Navigant?” CLAYTON responded, via WhatsApp message: “Nothing. I need dirt on [Victim-

3].” CLAYTON again expressed concern to CC-3 that law enforcement was “digging into our

business.”

       118.    During a subsequent call with CLAYTON on or about August 4, 2021, the detective

asked CLAYTON why Victim-3’s money was returned from an account in the name of XIM,

rather than Providence Sanitizer. CLAYTON responded that Providence Sanitizer and XIM are

“different companies that do different things,” but that CLAYTON is the sole owner of both

companies, which according to him, had no foreign owners or investors. CLAYTON stated that

he operated both companies from the Clayton Residence, and that he occasionally processed

Providence Sanitizer payments through the XIM TD Account “because wire transfers are easier

through TD [Bank] and really difficult at Navigant.”

       119.    On or about the same day, CLAYTON sent a WhatsApp message to CC-3,

notifying him that law enforcement’s investigation was “getting serious,” and stating that he may

need “support” from CC-3 and other co-conspirators.

       120.    Two days later, on or about August 6, 2021, CLAYTON told CC-3 via WhatsApp

that he “moved funds from XIM for safekeeping” because he was concerned that law enforcement

“may freeze this account.” He told CC-3, “I am hiring a lawyer to defend me,” and told CC-3 that

he may need him and co-conspirators to “chip in to cover his fees.”

       121.    On or about the same day, CLAYTON told CC-3 via WhatsApp that they needed

to be cautious continuing the scheme: “We are taking things very slowly until this is sorted out.”

       122.    On or about August 17, 2021, CLAYTON expressed concern to CC-3 that law

enforcement was investigating why CLAYTON attempted to refund Victim-3’s fraudulent check




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from XIM, rather than Providence Sanitizer, when law enforcement contacted him. He wrote, via

WhatsApp: “I am concerned that that the police may place a freeze on XIM Trade, because that

is where the [Victim-3] refund came from, and they know it.”

       123.    On or about the same day, CLAYTON sent CC-3 a retention agreement with the

criminal defense lawyer that he initially hired to defend him. Via WhatsApp, CLAYTON told

CC-3: “See attached from attorney. Be careful how you spread this around. In the wrong hands,

it would be dangerous for us.”

       124.    As the law enforcement investigation continued, CLAYTON discussed with CC-3

creating fake purchase orders and supply invoices for Providence Sanitizer that would justify the

deposits, incoming wires, and outgoing wires. For example, on or about August 21, 2021,

CLAYTON told CC-3 via WhatsApp: “We need documentation—payments in, wire out, that

includes an element of sanitizers. Let’s move to Signal. WhatsApp can be tapped.” Based on my

training and experience, I know that Signal is a mobile instant messaging application that is end-

to-end encrypted and provides users with the option to have “disappearing” messages (messages

that auto-delete after they are read).

       125.    On or about September 30, 2021, CLAYTON and CC-3 discussed, via the

encrypted messaging application Signal to which they transitioned their conversation—due to

CLAYTON’s concern that WhatsApp could be “tapped”—hiring an “in your face NY attorney”

to “shak[e] the trees” and convince the banks to release some of the money that CLAYTON was

laundering for CC-3 through Providence Sanitizer and the other shell companies’ bank accounts.




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                                      The Undercover Calls

       126.    On or about May 18, 2021, an undercover IRS-CI agent, posing as a representative

of foreign nationals who were seeking assistance in opening bank accounts in the United States,

placed a consensually recorded phone call to CLAYTON’s cell phone number, ending in -3818.

       127.    The undercover agent introduced himself to CLAYTON. CLAYTON offered his

services, stating, in substance, that the first step would be for him to form U.S. limited liability

companies or corporations on behalf of the foreign nationals. CLAYTON stated that he was

experienced in and willing to “set-up a company owned by [him], but controlled by the client.”

CLAYTON told the undercover agent that he knew certain banks that were “not as stringent” with

respect to anti-money laundering regulations, but that many banks “make it quite difficult” because

they “don’t like foreign-owned LLCs.” CLAYTON said one bank’s compliance “requirements”

included “need[ing] to know who the person is that actually owns the account,” which “puts

[CLAYTON’s] clients off.”

       128.    CLAYTON further explained his process to the undercover agent, stating that “we

incorporate a company, set-up a bank account, advise the client, and the money starts rolling.”

When asked what information CLAYTON would need from the foreign nationals to incorporate

the companies and open the accounts on their behalf, he said, “I don’t need anything from you at

all.” CLAYTON also stated, in substance, that he did not want to be responsible for the outgoing

wire transfers from the accounts he opened. Accordingly, he said his practice was to give foreign

individuals access to the online banking accounts, although he would remain the “sole signer on

the account,” because banks do “not allow us to delegate signing authority” to foreign nationals.

CLAYTON warned the agent that the clients should refrain from making too many cash deposits

into the accounts, so as not to draw attention, and that the “biggest single risk in U.S. banking at




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the moment is cash.” CLAYTON told the agent that he charged clients a minimum of $1,000 per

month, up to a maximum of $5,000 per month for clients “moving” $1 million per month, adding,

“by the way, we do have clients moving that much.”

       129.    On or about May 21, 2021, the undercover agent placed a second consensually

recorded telephone call to CLAYTON. The undercover agent and CLAYTON discussed setting

up an in-person meeting in order to further explore CLAYTON creating corporations and opening

bank accounts for the agent’s clients.     During the call, CLAYTON gathered background

information from the undercover agent. In doing so, CLAYTON asked whether the agent or any

of his family members “were associated with law enforcement.” CLAYTON added, “We don’t

deal with anyone who has law enforcement connections.” CLAYTON further asked the agent

whether any of his clients were fugitives from justice. CLAYTON stated, “Believe me, I have had

two or three clients who were.”

       130.    In or about July 2021, prior to setting up an in-person meeting, CLAYTON sent the

undercover agent a message via the encrypted messaging application WhatsApp. CLAYTON

wrote, “I am not able to take on any new clients at the moment. I will contact you when the

situation clears. Looking at 2-3 month delay.”

       131.    Based on the timing of the events, I believe the “situation” referred to by

CLAYTON involved the investigation of the fraud targeting Victim-3, as discussed above.

                                                 ***

       132.    In total, CLAYTON created at least five different shell companies for CC-3 in the

United States, and opened and managed at least 14 bank accounts, through which CLAYTON,

CC-3, and others laundered more than $35 million.




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       C.      CLAYTON’s False Statements to Federal Agents and Use of Stripe

       133.    In or about January 2022, accompanied by counsel, CLAYTON met with federal

agents pursuant to a standard proffer agreement with the United States Attorney’s Office in Boston.

At that meeting, CLAYTON was informed that he would likely face federal money laundering

charges. Law enforcement also warned him that lying to or seeking to mislead federal agents is a

crime. Nevertheless, despite knowing that proceedings to charge him with federal crimes were

possible and being warned not to lie to agents, CLAYTON made several materially false

statements. For example, CLAYTON told federal agents that he directed CC-3 to switch their

communications to Signal because he was worried his WhatsApp communications were being

“tapped” by competitors, not by law enforcement. Further, CLAYTON initially denied ever

misleading banks or members of law enforcement about CC-3’s accounts, but later admitted that

he did mislead them but only because they “would not understand” his business.

       134.    There is probable cause to believe that CLAYTON, subsequent to that proffer, has

continued to launder funds for Rochart clients. For example, CLAYTON has a Stripe account for

a purported custom, casual apparel business Cozy based in Delaware. The mailing address for

Cozy’s Stripe account is the Clayton Residence. Stripe is a payment services provider that allows

merchants to accept credit and debit cards on the internet. From in or about March 2022 (shortly

after his proffer with law enforcement agents) through in or about November 2022, this account

has authorized more than $5.5 million in purported orders from individuals within the United

States for Cozy apparel, a significant increase in volume from prior to that period. These payments

often occurred minutes apart and originated from the same payors, which based on my training

and experience, is indicative of one individual running card payment details programmatically,

and is not consistent with a retail merchant’s expected business activity. For example, on or about




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October 6, 2022, within a span of two minutes, one individual using a unique Stripe payor identifier

(but 11 different names) made 11 different purported purchases of Cozy apparel, all for $255.94.

Four days later, on or about October 10, 2022, within a span of minutes, one individual using the

same unique Stripe payor identifier (but 10 different names) made 10 different purchases of Cozy

apparel, all for $255.94. Further, hundreds of the transactions executed by the Cozy Stripe account

have been reported to Stripe as fraudulent. Additionally, records from Stripe indicate that while

the Stripe account is registered in the name of CLAYTON at the Subject Premises in Rhode Island,

the overwhelming majority of IP addresses that have been used to access the Cozy Stripe account

originate in Vietnam. Collectively, these facts are consistent with CLAYTON substituting the use

of Stripe for bank accounts to execute a similar money laundering scheme.

               PROBABLE CAUSE TO BELIEVE THE SUBJECT
      PREMISES CONTAIN EVIDENCE, FRUITS, AND INSTRUMENTALITIES

       135.    I have probable cause to believe that the Subject Premises, as described in

Attachment A to the proposed warrant, contains fruits, evidence, and instrumentalities of the

Target Offenses, as described in Attachment B.

       136.    As summarized above, the fraud targeting Victim-3 demonstrates that there is

probable cause to believe that the Clayton Residence contains evidence, fruits, and

instrumentalities of the Target Offenses. Victim-3 was directed to mail his $190,000 check to the

Clayton Residence. Further, CLAYTON has listed the Subject Premises as the address for many

of the bank accounts he opened, including on behalf of CC-3, and the Subject Premises is the

address for the Cozy Stripe account.

       137.    Based on my training and experience, I know that locations occupied by a target

often contain evidence that will aid in establishing the “who, what, why, when, where, and how”

of the criminal conduct under investigation, thus enabling the government to establish and prove



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each element or alternatively, to exclude the innocent from further suspicion. Accordingly, I

believe that it is likely that the Subject Premises, the Clayton Residence, will contain evidence of

the Target Offenses, including without limitation, bank account opening documents, monthly

statements, debit cards, ATM and banking receipts; documents concerning the formation of

various shell companies; computers and telephones used to communicate with co-conspirators;

and cash.

       138.    Although a number of months have passed since some of the bank accounts

discussed above have been active and since a search warrant was previously executed at the

Subject Premises, I believe that evidence of the Target Offenses will nevertheless be found at the

Subject Premises due to, in part, CLAYTON’s continued activity in processing funds via Stripe.

As discussed below, I expect that cellular phones and/or computers owned and used by CLAYTON

will contain evidence of the Target Offenses, and in my experience, cellular phones and computers

are typically found where targets reside. Further, targets tend not to discard computers and cellular

phones in my experience, and even if they do, targets frequently “backup” their computers and

cellular phones to new devices, the cloud, or external hard drives, which may be found at the

Subject Premises.

       139.    Based on my training and experience, individuals who perpetrate fraudulent

schemes and/or launder the proceeds also keep ledgers of proceeds, similar to drug traffickers, that

often are found where they reside.

       140.    As discussed below, I have probable cause to believe that evidence of the Target

Offenses will be found on cell phones used by CLAYTON and CC-1. Based on my training and

experience, users of cell phones typically carry such devices on their person, even when in their

residences, and this warrant authorizes the search of all such devices in the Subject Premises.




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                   SEIZURE OF COMPUTER EQUIPMENT AND DATA

       141.    From my training, experience, and information provided to me by other agents, I

am aware that individuals frequently use computers to create and store records of their actions by

communicating about them through e-mail, instant messages, and updates to online social-

networking websites; drafting letters; keeping their calendars; arranging for travel; storing

pictures; researching topics of interest; buying and selling items online; and accessing their bank,

financial, investment, utility, and other accounts online.

       142.    Based on my training, experience, and information provided by other law

enforcement officers, I also know that many cell phones (which are included in Attachment B’s

definition of “hardware”) can now function essentially as small computers.            Phones have

capabilities that include serving as a wireless telephone to make audio calls, digital camera,

portable media player, GPS navigation device, sending and receiving text messages and emails,

and storing a range and amount of electronic data. Examining data stored on devices of this type

can uncover, among other things, evidence of communications and evidence of communications

and evidence that reveals or suggests who possessed or used the device.

       143.    I am aware of a report from the United States Census Bureau that shows that in

2016, among all households nationally, 89 percent had a computer, which includes smartphones,

and 81 percent had a broadband Internet subscription. Specifically, in 2016, when the use of

smartphone ownership was measured separately for the first time, 76 percent of households had a

smartphone and 58 percent of households had a tablet, and 77 percent of households had a desktop

or laptop computer. Further, according to the Pew Research Center, as of 2019, 96 percent of adult

Americans own a cell phone, and 81 percent own a cell phone with significant computing

capability (a “smartphone”).




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       144.     From my training and experience, I am aware that personal computer systems are

generally capable of creating, receiving, and otherwise processing computer files generated at or

to be used at a business, such as e-mail, word-processing documents, photographs, and

spreadsheets.

       145.     Here, as set forth supra, CLAYTON and CC-1 used e-mail to communicate with

CC-3 and CC-2.

       146.     Further, CLAYTON used his cell phone, which is a smartphone, to communicate

with the undercover agent. After his initial call with the undercover agent, CLAYTON began to

communicate with the undercover agent via WhatsApp, an encrypted messaging application

available on smartphones. CLAYTON communicated with the undercover agent via WhatsApp

from in or about May 2021 through in or about July 2021, and he communicated with CC-3 via

WhatsApp on a near-daily basis, exchanging several thousand messages.

       147.     From my training, experience, and information provided to me by other agents, I

am aware that individuals commonly store records of the type described in Attachment B in

computer hardware, computer software, smartphones, and storage media.

       148.     Based on my knowledge, training, experience, and information provided to me by

other agents, I know that computer files or remnants of such files can be recovered months or years

after they have been written, downloaded, saved, deleted, or viewed locally or over the Internet.

This is true because:

       a.       Electronic files that have been downloaded to a storage medium can be stored for

years at little or no cost. Furthermore, when users replace their computers, they can easily transfer

the data from their old computer to their new computer.




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       b.      Even after files have been deleted, they can be recovered months or years later

using forensic tools. This is so because when a person “deletes” a file on a computer, the data

contained in the file does not actually disappear; rather, that data remains on the storage medium

until it is overwritten by new data, which might not occur for long periods of time. In addition, a

computer’s operating system may also keep a record of deleted data in a “swap” or “recovery” file.

       c.      Wholly apart from user-generated files, computer storage media (in particular,

computers’ internal hard drives) contain electronic evidence of how the computer has been used,

what it has been used for, and who has used it. This evidence can take the form of operating system

configurations, artifacts from operating system or application operation, file system data

structures, and virtual memory “swap” or paging files. It is technically possible to delete this

information, but computer users typically do not erase or delete this evidence because special

software is typically required for that task.

       d.      Similarly, files that have been viewed over the Internet are sometimes automatically

downloaded into a temporary Internet directory or “cache.” The browser often maintains a fixed

amount of hard drive space devoted to these files, and the files are overwritten only as they are

replaced with more recently viewed Internet pages or if a user takes steps to delete them.

       e.      Data on a storage medium can provide evidence of a file that was once on the

storage medium but has since been deleted or edited, or of a deleted portion of a file (such as a

paragraph that has been deleted from a word processing file). Virtual memory paging systems can

leave traces of information on the storage medium that show what tasks and processes were

recently active.    Web browsers, email programs, and chat programs store configuration

information on the storage medium that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of




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peripherals, the attachment of USB flash storage devices or other external storage media, and the

times the computer was in use. Computer file systems can record information about the dates files

were created and the sequence in which they were created, although this information can later be

falsified.

        f.     As explained herein, information stored within a computer and other electronic

storage media may provide crucial evidence of the “who, what, why, when, where, and how” of

the criminal conduct under investigation, thus enabling the United States to establish and prove

each element or alternatively, to exclude the innocent from further suspicion. In my training and

experience, information stored within a computer or storage media (e.g., registry information,

communications, images and movies, transactional information, records of session times and

durations, internet history, and anti-virus, spyware, and malware detection programs) can indicate

who has used or controlled the computer or storage media. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

The existence or absence of anti-virus, spyware, and malware detection programs may indicate

whether the computer was remotely accessed, thus inculpating or exculpating the computer owner.

Further, computer and storage media activity can indicate how and when the computer or storage

media was accessed or used. For example, as described herein, computers typically contain

information that log: computer user account session times and durations, computer activity

associated with user accounts, electronic storage media that connected with the computer, and the

IP addresses through which the computer accessed networks and the internet. Such information

allows investigators to understand the chronological context of computer or electronic storage

media access, use, and events relating to the crime under investigation. Additionally, some

information stored within a computer or electronic storage media may provide crucial evidence




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relating to the physical location of other evidence and the suspect. For example, images stored on

a computer may both show a particular location and have geolocation information incorporated

into its file data. Such file data typically also contains information indicating when the file or

image was created. The existence of such image files, along with external device connection logs,

may also indicate the presence of additional electronic storage media (e.g., a digital camera or

cellular phone with an incorporated camera). The geographic and timeline information described

herein may either inculpate or exculpate the computer user. Finally, information stored within a

computer may provide relevant insight into the computer user’s state of mind as it relates to the

offense under investigation. For example, information within the computer may indicate the

owner’s motive and intent to commit a crime (e.g., internet searches indicating criminal planning),

or consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the computer

or password protecting/encrypting such evidence in an effort to conceal it from law enforcement).

       g.      A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how computers

were used, the purpose of their use, who used them, and when.

       h.      The process of identifying the exact files, blocks, registry entries, logs, or other

forms of forensic evidence on a storage medium that are necessary to draw an accurate conclusion

is a dynamic process. While it is possible to specify in advance the records to be sought, computer

evidence is not always data that can be merely reviewed by a review team and passed along to

investigators. Whether data stored on a computer is evidence may depend on other information

stored on the computer and the application of knowledge about how a computer behaves.

Therefore, contextual information necessary to understand other evidence also falls within the

scope of the warrant.




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        i.      Further, in finding evidence of how a computer was used, the purpose of its use,

who used it, and when, sometimes it is necessary to establish that a particular thing is not present

on a storage medium. For example, the presence or absence of counter-forensic programs or anti-

virus programs (and associated data) may be relevant to establishing the user’s intent.

        149.    Based on my knowledge and training and the experience of other agents with whom

I have spoken, I am aware that in order to completely and accurately retrieve data maintained in

computer hardware, computer software or storage media, to ensure the accuracy and completeness

of such data, and to prevent the loss of the data either from accidental or programmed destruction,

it is often necessary that computer hardware, computer software, and storage media (“computer

equipment”) be seized and subsequently processed by a computer specialist in a laboratory setting

rather than in the location where it is seized. This is true because of:

        a.      The volume of evidence: storage media such as hard disks, flash drives, CDs, and

DVDs can store the equivalent of thousands or, in some instances, millions of pages of information.

Additionally, a user may seek to conceal evidence by storing it in random order or with deceptive

file names. Searching authorities may need to examine all the stored data to determine which

particular files are evidence, fruits, or instrumentalities of criminal activity. This process can take

weeks or months, depending on the volume of data stored, and it would be impractical to attempt

this analysis on-site.

        b.      Technical requirements: analyzing computer hardware, computer software or

storage media for criminal evidence is a highly technical process requiring expertise and a properly

controlled environment. The vast array of computer hardware and software available requires

even computer experts to specialize in some systems and applications. Thus, it is difficult to know,

before the search, which expert possesses sufficient specialized skill to best analyze the system




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and its data. Furthermore, data analysis protocols are exacting procedures, designed to protect the

integrity of the evidence and to recover even “hidden,” deleted, compressed, or encrypted files.

Many commercial computer software programs also save data in unique formats that are not

conducive to standard data searches. Additionally, computer evidence is extremely vulnerable to

tampering or destruction, both from external sources and destructive code imbedded in the system

as a “booby trap.”

       Consequently, in executing the warrants, law enforcement agents may either copy the data

at the premises to be searched or seize the computer equipment for subsequent processing

elsewhere.

       150.    The premises may contain computer equipment whose use in the crime(s) or storage

of the things described in this affidavit is impractical to determine at the scene. Computer

equipment and data can be disguised, mislabeled, or used without the owner’s knowledge. In

addition, technical, time, safety, or other constraints can prevent definitive determination of their

ownership at the premises during the execution of this warrant. If the things described in

Attachment B are of the type that might be found on any of the computer equipment, this

application seeks permission to search and seize it onsite or off-site in order to determine their true

use or contents, regardless of how the contents or ownership appear or are described by people at

the scene of the search.

       151.    The law enforcement agents will endeavor to search and seize only the computer

equipment which, upon reasonable inspection and/or investigation conducted during the execution

of the search, reasonably appear to contain the evidence in Attachment B because they are

associated with CLAYTON, his wife CC-1, or Rochart.




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       152.    This warrant authorizes a review of electronic storage media seized, electronically

stored information, communications, other records and information seized, copied or disclosed

pursuant to this warrant in order to locate evidence, fruits, and instrumentalities described in this

warrant. The review of this electronic data may be conducted by any government personnel

assisting in the investigation, who may include, in addition to law enforcement officers and agents,

attorneys for the government, attorney support staff, and technical experts. Pursuant to this

warrant, the Investigative Team may deliver a complete copy of the seized, copied, or disclosed

electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.

                UNLOCKING A DEVISE USING BIOMETRIC FEATURES

       153.    I know from my training and experience, as well as from information found in

publicly available materials, that some models of cell phones made by Apple and other

manufacturers offer their users the ability to unlock a device via the use of a fingerprint or through

facial recognition, in lieu of a numeric or alphanumeric passcode or password.

       154.    On the Apple devices that have this feature, the fingerprint unlocking feature is

called Touch ID. If a user enables Touch ID on a given Apple device, he or she can register up to

five fingerprints that can be used to unlock that device. The user can then use any of the registered

fingerprints to unlock the device by pressing the relevant finger(s) to the device’s Touch ID sensor.

In some circumstances, a fingerprint cannot be used to unlock a device that has Touch ill enabled,

and a passcode must be used instead, such as: (1) when more than 48 hours has passed since the

last time the device was unlocked and (2) when the device has not been unlocked via Touch ID in

eight hours and the passcode or password has not been entered in the last six days. Thus, in the

event law enforcement encounters a locked Apple device, the opportunity to unlock the device via




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Touch ill exists only for a short time. Touch ID also will not work to unlock the device if (1) the

device has been turned off or restarted; (2) the device has received a remote lock command; or (3)

five unsuccessful attempts to unlock the device via Touch ID are made.

       155.    The passcode(s) that would unlock CLAYTON’s and CC-1’s cell phone(s) are not

currently known to law enforcement. Thus, it may be useful to press the finger(s) of CLAYTON

and CC-1 to the devices’ fingerprint sensors or to hold the devices up in front of their faces in an

attempt to unlock the devices for the purpose of executing the search authorized by this warrant.

The government may not otherwise be able to access the data contained on those devices for the

purpose of executing the search authorized by this warrant.

       156.    For these reasons, I request that the Court authorize law enforcement to press the

fingers (including thumbs) of CLAYTON and CC-1 to the sensor of the cell phone devices

described in Attachment B or to place the devices in front of their faces for the purpose of

attempting to unlock the devices in order to search the contents as authorized by this warrant.

                     PROBABLE CAUSE FOR SEIZURE WARRANTS

       A.      The Target Accounts

       157.    On or about July 31, 2021, Navigant froze all of the funds on deposit in the

following Target Accounts opened by CLAYTON in the names of Providence Sanitizer,

Sustainable Agriculture, and Rochart, Inc.

         Account Name            Target Account         Account No.       Balance as of July
                                                                              31, 2021
       Providence Sanitizer      Target Account 1          x9165             $138,803.01

     Sustainable Agriculture     Target Account 2          x4961              $72,627.50

            Rochart Inc.         Target Account 3          x8962               $5,276.18

            Rochart Inc.         Target Account 4          x5711              $14,660.21




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       158.    On or about May 13, 2021, CLAYTON opened Target Account 1 in the name of

Providence Sanitizer, on behalf of CC-3, at Navigant in Rhode Island. On the account opening

documents CLAYTON indicated that he was the President and the only officer of the business, as

well as the 100% beneficial owner. As set forth above, CLAYTON incorporated Providence

Sanitizer to launder money, and the transfers and deposits into Target Account 1 had no legitimate

business purpose because Providence Sanitizer was not a real company.

       159.    On or about May 25, 2021, CLAYTON opened Target Account 2 in the name of

Sustainable Agriculture, on behalf of CC-3, at Navigant in Rhode Island. On the account opening

documents CLAYTON indicated that he was the President and only officer of the business, as well

as the 100% beneficial owner.       As set forth above, CLAYTON incorporated Sustainable

Agriculture to launder money, and the transfers and deposits into Target Account 2 had no

legitimate business purpose because Sustainable Agriculture was not a real company.

       160.    As set forth above, CLAYTON used Rochart as a means to launder criminal

proceeds for his clients under the guise of financial consulting services. On or about March 9,

2017, CLAYTON opened Target Account 3 in the name of Rochart Inc. at Navigant. On or about

September 3, 2020, CLAYTON opened Target Account 4 at Navigant in the name of Rochart Inc.

CLAYTON and his wife, CC-1, are the two signatories on this account.

       161.    Based on the foregoing, there is probable cause to believe that any and all funds on

deposit in the Target Accounts represent property involved in money laundering and are subject

to forfeiture pursuant to Title 18, United States Code, Sections 981(a)(1)(A) and 982(a)(1).

       B.      The Target Vehicle

       162.    On or about September 17, 2019, CLAYTON opened a JP Morgan checking

account in the name of Rochart client Teracoaster International LLC (“Teracoaster”) ending in




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x9256. From in or about September 2019 to July 2020, the Teracoaster JP Morgan account

received approximately $338,000 in suspicious deposits and incoming wire transfers, including

numerous cash deposits structured just under $10,000. Shortly after each cash deposit, an outgoing

wire transfer was sent from the Teracoaster JP Morgan account to foreign bank accounts, including

in Singapore and Malaysia. In an e-mail that CLAYTON sent CC-2 on or about May 10, 2020,

CLAYTON listed Teracoaster as one of the “Bad Actor” clients of Rochart. On or about July 29,

2020, the Teracoaster JP Morgan account was closed due to suspected fraud and money

laundering, with a balance of approximately $79,441, and on or about the same day, JP Morgan

issued a cashier’s check to Teracoaster for that amount, with the Clayton Residence as the listed

address. On or about September 11, 2020, the $79,441 check to Teracoaster was deposited in

Target Account 4 in the name of Rochart. On or about September 18, 2020, the $79,441 was

transferred from Target Account 4 to Target Account 3 in the name of Rochart.

       163.    On or about May 21, 2020, CLAYTON purchased the Target Vehicle from a

Mercedes-Benz dealership in Rhode Island, using a cashier’s check from Target Account 3 for the

purchase price of approximately $23,794.55. At the time of the purchase, the balance in Target

Account 3 was approximately $28,142.40. CLAYTON purchased the Target Vehicle in the name

of his spouse, CC-1.

       164.    Based on the foregoing, there is probable cause to believe that the Target Vehicle

represents proceeds from property involved in money laundering and is subject to forfeiture

pursuant to Title 18, United States Code, Sections 981(a)(1)(A) and 982(a)(1).




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                                      SEIZURE AUTHORITY

        165.    Pursuant to Title 18, United States Code, Sections 981(a)(1)(A) and 982(a)(1), any

property, real or personal, involved in a transaction or attempted transaction in violation of section

1956, 1957, or 1960 of this title, or any property traceable to such property, is subject to forfeiture.

        166.    This Court has authority to issue a civil seizure warrant pursuant to Title 18, United

States Code, Section 981(b)(2), which states that “[s]eizures pursuant to this section shall be made

pursuant to a warrant obtained in the same manner as provided for a search warrant under the

Federal Rules of Criminal Procedure.” This Court also has authority to issue the requested criminal

seizure warrant pursuant to Title 21, United States Code, Section 853(f), as incorporated by Title

18, United States Code, Section 982(b), which authorizes “the issuance of a warrant authorizing

the seizure of property subject to forfeiture under this section in the same manner as provided for

a search warrant.”

        167.    A restraining order, pursuant to Title 18, United States Code, Section 853(e), will

not be sufficient to preserve the Target Accounts for forfeiture given the ease with which funds

may move out of the accounts via wire transfer, electronic funds transfer, or otherwise, and despite

best intentions, financial institutions cannot guarantee that money restrained, but not seized, will

be available for forfeiture at a later time. Similarly, given the ease with which vehicles can be

concealed, destroyed, or removed from the jurisdiction, based on my training and experience, a

restraining order will not be sufficient to preserve the Target Vehicle for forfeiture.

        168.    Pursuant to Title 18, United States Code, Section 981(b)(3), and Title 21, United

States Code, Section 853(l), a seizure warrant may be issued by a judicial officer in any district in

which a forfeiture action against the property may be filed, and may be executed in any district in

which the property is found.




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                                          CONCLUSION

       169.    Based on the information described above, there is probable cause to believe that

CLAYTON has committed conspiracy to commit money laundering, in violation of Title 18,

United States Code, Section 1956(h) and 1956(a)(1)(B)(i), and obstruction of justice, in violation

of Title 18, United States Code, Section 1512(c)(2). Further, there is probable cause to believe

that that evidence, fruits, and instrumentalities of the Target Offenses (as described in Attachment

B) will be found at the Clayton Residence (as described in Attachment A to the proposed respective

warrant). Finally, there is probable cause to believe that the Target Assets are subject to forfeiture

pursuant to Title 18, United States Code, Sections 981(a)(1)(A) and 982(a)(1).

                                                              Respectfully submitted,
                                                                    /s/ Lori Robinson
                                                              _________________________
                                                              Lori Robinson, Special Agent
                                                              Department of Homeland Security

SUBSCRIBED and SWORN to telephonically in accordance with Fed R. Crim. P. 41(d)(3) on
this ___ day of February 2023.
                                     February 21, 2023




_______________________________________________

HONORABLE M. PAGE KELLEY
Chief United States Magistrate Judge
District of Massachusetts




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                    ATTACHMENT A – THE CLAYTON RESIDENCE

                 DESCRIPTION OF THE PREMISES TO BE SEARCHED

       The premises to be searched, pictured below, is located at 52 Parkside Drive, Cranston,

Rhode Island 02910. The property is a two-story, single-family residence. The number “52” is

clearly displayed by the front door. The house includes a detached garage located in the back of

the house. The siding is a mixture of brick and white vinyl siding. The brick covers the first

floor of the house while the white vinyl siding covers the top half.




       The area to be searched at the Clayton Residence includes all rooms, annexes, garages,

attics, basements, porches, curtilage, mailboxes, trash containers, debris boxes, storage lockers,

locked containers and safes, lockers, sheds, and any visible structures and outbuildings
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associated with the Clayton Residence and shall extend into desks, cabinets, safes, briefcases,

backpacks, wallets, purses, digital devices, and any other storage locations within the Clayton

Residence.




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                                       ATTACHMENT B

                                    ITEMS TO BE SEIZED

       I.      For the period of January 1, 2019 to the present, all records, in whatever form,

and tangible objects that constitute evidence, fruits, or instrumentalities of violations of money

laundering and conspiracy to commit money laundering, in violation of Title 18, United States

Code, Sections 1956 and 1957; obstruction of justice, tampering with and retaliating against a

witness and victim, and conspiracy to commit the same, in violation of Title 18, United States

Code, Sections 1512, 1513, and 371; making false statements to a federal agents, in violation of

Title 18, United States Code, Section 1001; mail fraud, wire fraud, bank fraud, and conspiracy to

commit the same, in violation of Title 18, United States Code, Sections 1341, 1343, 1344, and

1349; and operating an unlicensed money transmitting business, in violation of Title 18, United

States Code, Section 1960 (collectively, the “Target Offenses”), including but not limited to:

            A. Records and tangible objects pertaining to the following:

               1. Craig CLAYTON;

               2. Corazon Bautista;

               3. Rochart Consulting;

               4. GetBiztoUSA;

               5. Providence Sanitizer; Cryson Trading; PJT International; XIM Trade, and

                   other companies founded or owned by Craig CLAYTON;

               6. Potential victims and co-conspirators in romance scams, elder fraud, and other

                   fraudulent schemes, including the individuals identified as Victims-1 through

                   3 in the supporting affidavit;

               7. Banking and money transfers, and the payment, receipt, transfer, or storage of
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        money or other things of value, including the opening of, access to, and/or use

        of bank accounts in the names of or associated with third persons, including

        bank statements, deposit tickets, deposit items, checks, money orders,

        cashier's checks, official checks, bank drafts, wire transfer instructions and

        receipts, checkbooks, check registers, passbooks, withdrawal slips, credit

        memos, debit memos, signature cards, account applications, automatic teller

        machine receipts, safe deposit box applications, safe deposit box keys, pre-

        paid debit and credit cards, debit and credit card statements, charge slips,

        receipts, financial statements, balance sheets, income statements, cash flow

        statements, ledgers, journals, accounts receivable, accounts payable, leases,

        brokerage statements, and any other items evidencing the obtaining,

        disposition, secreting, transfer, or concealment of assets;

     8. The access and use of money service businesses, such as Western Union

        and/or Moneygram; online bank transfer services, such as TransferWise,

        Veem, Zelle, Venmo, Stripe, or Paypal; and cryptocurrency accounts and

        cryptocurrency exchanges, such as Bitcoin;

     9. United States currency, money orders, or cashier’s checks related to or

        obtained from fraud, and any currency counting equipment;

     10. The e-mail account craig.clayton@rochartgroup.com, and all other Rochart e-

        mail accounts;

     11. The purchase or lease of real estate, vehicles, precious metals, jewelry, or

        other items obtained with fraud proceeds.

     12. Identification cards, driver’s license cards, passports, visas, and travel




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         documents.

     13. Communications by, between and among, and/or relating to CLAYTON and

         known and unknown conspirators, relating to the Target Offenses.

     14. The identity of, contact information for, communications with, or times, dates

         or locations of meetings with co-conspirators involved in the Target Offenses,

         including calendars, address books, telephone or other contact lists,

         correspondence, receipts, and wire transfer or fund disposition records, and

         communications relating to the same;

     15. The occupancy, ownership, purchase and/or lease of the Clayton Residence;

     16. The use, ownership, possession, and control of computers, tablets, cellular

         telephones, and/or other cellular and digital devices seized from the Clayton

         Residence and/or CRAIG CLAYTON and any landline telephones, internet

         service, or IP addresses associated with the CLAYTON Residence;

     17. Accounts held with companies providing Internet access or remote storage;

  B. Records and tangible objects pertaining to the payment, receipt, transfer, or

  storage of money or other things of value by Craig CLAYTON or Corazon Bautista,




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  including, without limitation:

     1. Bank, credit union, investment, money transfer, and other financial

         accounts;

     2. Brokerage accounts;

     3. Tax statements and returns;

     4. Business or personal expenses; and

     5. Income, whether from wages or investments.

  C. Records and tangible objects pertaining to the travel or whereabouts of any of the

  individuals listed above.

  D. Records and tangible objects pertaining to the existence, identity, and travel of any

  co-conspirators, as well as any co-conspirators’ acts taken in furtherance of the

  crimes listed above.

  E. For any computer hardware, computer software, mobile phones, or storage media

  called for by this warrant or that might contain things otherwise called for by this

  warrant ("the computer equipment"):

     1. evidence of who used, owned, or controlled the computer equipment;

     2. evidence of the attachment of other computer hardware or storage media;

     3. evidence of counter-forensic programs and associated data that are designed to

     eliminate data;

     4. evidence of when the computer equipment was used;

     5. passwords, encryption keys, and other access devices that may be necessary to

     access the computer equipment; and

  F. Records and tangible objects relating to the ownership, occupancy, or use of the




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              premises to be searched (such as utility bills, phone bills, rent payments, mortgage

              payments, photographs, insurance documentation, receipts and check registers).

       II.       All Computer hardware, computer software, and storage media reasonably

believed to contain the items described in paragraph I. Off-site searching of these items shall be

limited to searching for the items described in paragraph I.

       III.      During the execution of the search of the Subject Premises described in

Attachment A, law enforcement personnel are authorized to press the fingers (including thumbs)

of Craig CLAYTON and Corazon Bautista to the sensor of any of the smartphones described

above, or to hold the device(s) in front of their faces.

                                           DEFINITIONS

For the purpose of this warrant:

       A.        “Computer Equipment” means any computer hardware, computer software,

                 mobile phones, storage media, and data.

       B.        “Computer hardware” means any electronic device capable of data processing

                 (such as a computer, smartphone, cell/mobile phone, or wireless communication

                 device); any peripheral input/output device (such as a keyboard, printer, scanner,

                 monitor, and drive intended for removable storage media); any related

                 communication device (such as a router, wireless card, modem, cable, and any

                 connections), and any security device, (such as electronic data security hardware

                 and physical locks and keys).

       C.        “Computer software” means any program, program code, information or data

                 stored in any form (such as an operating system, application, utility,

                 communication and data security software; a log, history or backup file; an




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               encryption code; a user name; or a password), whether stored deliberately,

               inadvertently, or automatically.

       D.      “Storage media" means any media capable of collecting, storing, retrieving, or

               transmitting data (such as a hard drive, CD, DVD, or memory card).

       E.      “Data” means all information stored on storage media of any form in any storage

               format and for any purpose.

       F.      “A record” is any communication, representation, information or data. A “record”

               may be comprised of letters, numbers, pictures, sounds or symbols.

                     RETURN OF SEIZED COMPUTER EQUIPMENT

       If the owner of the seized computer equipment requests that it be returned, the

government will attempt to do so, under the terms set forth below. If, after inspecting the seized

computer equipment, the government determines that some or all of this equipment does not

contain contraband or the passwords, account information, or personally identifying information

of victims, and the original is no longer necessary to retrieve and preserve as evidence, fruits or

instrumentalities of a crime, the equipment will be returned within a reasonable time, if the party

seeking return will stipulate to a forensic copy’s authenticity (but not necessarily relevancy or

admissibility) for evidentiary purposes.

       If computer equipment cannot be returned, agents will make available to the computer

system's owner, within a reasonable time period after the execution of the warrant, copies of

files that do not contain or constitute contraband; passwords, account information, or personally

identifiable information of victims; or the fruits or instrumentalities of crime. For purposes of

authentication at trial, the Government is authorized to retain a digital copy of all computer

equipment seized pursuant to this warrant for as long as is necessary for authentication purposes.




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